          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:07cr211-2


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                   ORDER
                            )
                            )
VICTORIA L. SPROUSE.        )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion to

Bifurcate and Continue [Doc. 328].

     By text order entered May 28, 2010, the parties were notified that the

motion to continue was granted and that a written order would follow. Having

considered the Defendant’s request that the sentencing hearing be bifurcated

and that expert witnesses be allowed, the Court enters its decision.

     On April 13, 2010, the Probation Office filed the draft presentence report

which was twenty-five pages in length. [Doc. 311]. On April 29, 2010, the

Government filed eleven pages of objections, including a spreadsheet related

to loss. [Doc. 315].   On May 6, 2010, the Government amended those

objections and filed an additional loss calculation spreadsheet. [Doc. 317].




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The Defendant’s objections, which were filed on May 7, 2010, were sixty-one

pages long. [Doc. 319]. Included in the objections was a discussion in support

of a downward departure and a variance. [Id.]. The Government filed a six

page response three days later. [Doc. 321]. On May 24, 2010, however, the

Government filed an amended response to the Defendant’s objections which

was thirty pages long and which contained an additional fourteen pages of

exhibits. [Doc. 325]. Meanwhile, the Probation Office filed the final report and

sentencing recommendation. [Doc. 323, Doc. 324]. On May 26, 2010, the

Government filed a twenty-six page sentencing memorandum to which were

attached eighteen pages of exhibits. [Doc. 326].

      The Court finds that the parties have more than adequately preserved

the record of issues and objections for sentencing. No additional filings

related to sentencing may be made absent prior permission from the Court,

permission which should not be lightly sought. The request for bifurcation is

rejected as unnecessary as is the request for written findings concerning the

guidelines range, loss, and objections to the presentence report.

      The Defendant also states that she intends to call two expert witnesses

at the sentencing hearing. The Government does not object to the use of

experts but states that no additional time should be given for the preparation

of expert witnesses.


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      Defense counsel advise they intend to call Herbert Hoelter as a

sentencing expert within the federal system to provide an analysis of how the

proposed guideline sentence for this Defendant compares to sentences

imposed on similarly situated defendants.        Provided that the Defendant

properly qualifies this witness as an expert, the Court would allow his

testimony at the sentencing hearing. Counsel are advised to prepare this

testimony such that direct examination will be completed in thirty minutes and

that cross examination will be completed in thirty minutes. If counsel believe

that these time limitations are too stringent, counsel may apply to the Court

in advance of the hearing for additional time citing the reasons why such

testimony cannot be presented within these parameters.

      The second expert, Douglas Berman, is offered to “provide invaluable

assistance to the Court in exercising its sentencing discretion, and providing

necessary legal background on federal sentencing guidelines in fraud cases

involving complex facts and high-losses.” [Doc. 328, at 6]. Counsel assures

the Court that Mr. Berman “will not seek in any way to invade the province of

the Court in making its individualized sentencing determination” but instead

“will assist the Court in exercising its sentencing responsibilities[.]” The Court

does not find that Mr. Berman, based on this forecast, could be qualified as

an expert witness and does not find that his testimony would be helpful to the


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Court.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Bifurcate and Continue [Doc. 328] is hereby DENIED as to the motion to

bifurcate.

      IT IS FURTHER ORDERED that the sentencing hearing is scheduled

for Thursday, August 26, 2010.

                                      Signed: July 16, 2010




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